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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


 NATIONAL ASSOCIATION OF SOCIAL
 WORKERS, et al.,

                Plaintiffs,
                                                          Case No. 1:22-cv-258
        v.

 CITY OF LEBANON, OHIO, et al.,

                Defendants.


                              DECLARATION OF B. JESSIE HILL

       I, B. Jessie Hill, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the

following is true and correct:

       1.      I am over the age of 18. I make these statements based on my personal

knowledge. I submit this declaration in support of Plaintiffs’ Motion for a Preliminary Injunction

or, in the Alternative, Expedited Summary Judgment.

       2.      A true and correct copy of Lebanon Ordinance 2021-053, titled Ordinance

Outlawing Abortion, Declaring Lebanon a Sanctuary City for the Unborn, Making Various

Provisions and Findings, Providing for Severability, Establishing an Effective Date and

Declaring an Emergency, codified at Lebanon, Ohio, Code of City Ordinances §§ 509.09,

509.10 is attached as Exhibit A.

       3.      A true and correct copy of Mifeprex (mifepristone) Information, Food & Drug

Admin. (Dec. 16, 2021), https://www.fda.gov/drugs/postmarket-drug-safety-information-

patients-and-providers/mifeprex-mifepristone-information, is attached as Exhibit B.




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       4.      A true and correct copy of Mifeprex Medication Guide, Danco Laboratories LLC

(Mar. 2016), https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf, is

attached as Exhibit C.

       5.      A true and correct copy of a police report made to the Lebanon police concerning

the sale of mifepristone and misoprostol, obtained by Plaintiffs’ counsel through a third party, is

attached as Exhibit D.

       Dated: May 9, 2022



                                                      /s/ B. Jessie Hill
                                                      B. Jessie Hill




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                     HILL DECLARATION
                              EXHIBIT A
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                                   ORDINANCE NO. 2021-053


 ORDINANCE OUTLAWING ABORTION, DECLARING LEBANON A SANCTUARY
    FOR THE UNBORN, MAKING VARIOUS PROVISIONS AND FINDINGS,
 PROVIDING FOR SEVERABILITY, ESTABLISHING AN EFFECTIVE DATE AND
                   DECLARING AN EMERGENCY


BE IT ORDAINED BY THE CITY COUNCIL OF LEBANON, OHIO THAT:
WHEREAS, there are currently no facilities within the corporate limits of the City of
Lebanon, Ohio where an abortion may be legally performed; and,
WHEREAS, currently no woman is able to obtain an abortion within the corporate limitsof the
City of Lebanon, Ohio; and,
WHEREAS, no abortions are currently legally performed within the corporate
boundaries of the City of Lebanon, Ohio; and
WHEREAS, if a woman chose to have an abortion, she would have several optionswithin a
reasonable distance of Lebanon, Ohio; and
WHEREAS, due to the complete absence of abortions or abortion facilities in Lebanon,Ohio,
requiring a woman to exercise any right she may have to obtain an abortion to exercise that right
outside the corporate boundaries of the City of Lebanon, Ohio is nota substantial burden to the
exercise of that right under the Supreme Court’s ruling in Planned Parenthood of Southeastern
Pa. v. Casey, 505 U.S. 833 (1992).
A. FINDINGS
The City Council finds that:
(1) Human life begins at conception.
(2) Abortion is a murderous act of violence that purposefully and knowingly terminates an
unborn human life.
(3) Unborn human beings are entitled to the full and equal protection of the laws thatprohibit
violence against other human beings.
(4) The Supreme Court’s decision in Roe v. Wade, 410 U.S. 113 (1973), which invented a
constitutional right for pregnant women to kill their unborn children through abortion, isa lawless
and unconstitutional act of judicial usurpation, as there is no language anywhere in the
Constitution that even remotely suggests that abortion is a constitutional right.
(5) Constitutional scholars have excoriated Roe v. Wade, 410 U.S. 113 (1973), for its lack of
reasoning and its decision to concoct a constitutional right to abortion that has notextual foundation
in the Constitution or any source of law. See John Hart Ely, The Wages of Crying Wolf: A
Comment on Roe v. Wade, 82 Yale L.J. 920, 947 (1973) (“Roe
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v. Wade . . . is not constitutional law and gives almost no sense of an obligation to try tobe.”);
Richard A. Epstein, Substantive Due Process By Any Other Name: The Abortion Cases, 1973
Sup. Ct. Rev. 159, 182 (“It is simple fiat and power that gives [Roe v. Wade] its legal effect.”);
Mark Tushnet, Red, White, and Blue: A Critical Analysis of Constitutional Law 54 (1988) (“We
might think of Justice Blackmun’s opinion in Roe asan innovation akin to Joyce’s or Mailer’s. It
is the totally unreasoned judicial opinion.”).
(6) The Ohio Human Rights and Heartbeat Protection Act has outlawed and criminalized abortion
statewide if the unborn child has a detectable heartbeat. See OhioRev. Code § 2919.195(A). The
only exception is for abortions needed to prevent the death of the pregnant woman or to prevent
a serious risk of the substantial and irreversible impairment of a major bodily function. See Ohio
Rev. Code § 2919.195(B).
(7) Any person who performs an abortion in violation of the Ohio Human Rights and Heartbeat
Protection Act, other than the pregnant woman upon whom the abortion is performed, is a
criminal and felon who is subject to punishment of up to 12 months imprisonment and a fine of
up to $2,500 for each illegal abortion performed. See Ohio Rev. Code §§ 2919.195(A);
2929.14(b)(5).
(8) Any person who aids or abets an abortion performed in violation of the Ohio Human Rights
and Heartbeat Protection Act, other than the pregnant woman upon whom the abortion is
performed, is a criminal and felon under the accomplice-liability provisions insection 2923.03 of
the Ohio Revised Code, and is subject to punishment of up to 12 months imprisonment and a fine
of up to $2,500 for each illegal abortion that the personaided or abetted.
(9) The federal judiciary has no ability or power to veto, erase, or formally revoke the Ohio Human
Rights and Heartbeat Protection Act, and it has no power to block the OhioHuman Rights and
Heartbeat Protection Act from taking effect. The judiciary’s powers extend only to resolving cases
and controversies between named parties to a lawsuit. The power of judicial review allows a court
to decline to enforce a statute when resolving a case or controversy between named litigants, and
it allows a court to enjoin government officials from taking steps to enforce a statute—though only
while the court’s injunction remains in effect. But the Ohio Human Rights and Heartbeat
Protection Act will continue to exist, even if a court opines that it violates the Constitution, and it
will remain the law of Ohio until it is repealed by the legislature that enacted it.
(10) Although a federal district court has temporarily enjoined the enforcement of the Ohio
Human Rights and Heartbeat Protection Act, that ruling did not “strike down” the Ohio Human
Rights and Heartbeat Protection Act or “block” it from taking effect. It merely prevents the named
defendants in that lawsuit from bringing criminal charges or enforcing the statute against the
named plaintiffs for as long as the court’s ruling or injunction continues to exist.
(11) Individuals who violate the Ohio Human Rights and Heartbeat Protection Act after acourt has
declared the statute unconstitutional or enjoined government officials from enforcing it remain
subject to future criminal prosecution and penalties if the injunction isvacated on appeal or if Roe
v. Wade is overruled. An injunction merely prevents the
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named defendants from initiating criminal charges while the court’s injunction remains ineffect. It
does not confer immunity or preemptive pardons on those who violate the statute, and it does not
prevent government officials from prosecuting and punishing individuals after the injunction has
been dissolved.
(12) The federal district-court ruling that enjoined the enforcement of the Ohio Human Rights
and Heartbeat Protection Act does not bind the state judiciary; it does not bind nonparties to the
lawsuit; and it does not bind private citizens, who are not even subject to the Fourteenth
Amendment, let alone the judiciary’s purported interpretations of it. See Civil Rights Cases, 109
U.S. 3 (1883).
(13) Abortion after fetal heartbeat therefore remains a criminal offense under Ohio law,even
though a federal district court has temporarily enjoined some government officials from
prosecuting and punishing abortion providers who violate the Ohio Human Rightsand Heartbeat
Protection Act. Abortion providers who kill unborn children after a fetal heartbeat can be
detected, and any individual who aids or abets a post-heartbeat abortion in Ohio, remain criminals
and felons under Ohio law—even if they are not currently being prosecuted or punished for their
criminal acts—and they should be treated and ostracized as such.
(14) Private citizens should continue to regard post-heartbeat abortions and acts that aid and abet
post-heartbeat abortions as criminal acts under Ohio law, even though a federal district court has
temporarily enjoined government officials from imposing criminal punishment on those who
violate the Ohio Human Rights and Heartbeat Protection Act, and private citizens should
continue regarding those who perform or assist post-heartbeat abortions as criminals who will
be punished for their criminal actsas soon as the Supreme Court overrules Roe v. Wade, 410 U.S.
113 (1973).
(15) The city council of Lebanon finds it necessary to supplement the Ohio Human Rights and
Heartbeat Protection Act with this ordinance, which will ensure that abortion at all stages of
pregnancy will be regarded as an unlawful act in Lebanon, and that the state’s criminal
prohibitions on post-heartbeat abortion are enforced to the maximum possible extent.
B. DECLARATIONS
(1) We declare Lebanon, Ohio to be a Sanctuary City for the Unborn.
(2) We declare that abortion at all times and at all stages of pregnancy is an unlawfulact if
performed in Lebanon, Ohio, unless the abortion was in response to a
life-threatening physical condition aggravated by, caused by, or arising from a pregnancy that,
as certified by a physician, places the woman in danger of death or aserious risk of substantial
impairment of a major bodily function unless an abortion is performed.
(3) We declare abortion-inducing drugs to be contraband, and we declare the
possession of abortion-inducing drugs within city limits to be an unlawful act.
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(4) We also declare that abortion after fetal heartbeat remains a criminal act under section
2919.195 of the Ohio Revised Code, unless the abortion is needed to preventthe death of the
pregnant woman or to prevent a serious risk of the substantial and irreversible impairment of a
major bodily function.
(5) We declare that abortion after fetal heartbeat will remain a criminal act under state law until
the legislature repeals section 2919.195 of the Ohio Revised Code, regardlessof whether a court
has enjoined government officials from prosecuting or punishing abortion providers who violate
the Ohio Human Rights and Heartbeat Protection Act.
(6) We declare that the Ohio Human Rights and Heartbeat Protection Act remains enforceable
against any person who is not a named party to a court ruling that has declared the statute
unconstitutional or enjoined government officials from enforcing it.
(7) We declare that the Ohio Human Rights and Heartbeat Protection Act remains
enforceable by any government official who has not been enjoined by a court from enforcing
it.
(8) We declare that the Ohio Human Rights and Heartbeat Protection Act remains enforceable
against any person who lacks third-party standing to assert the constitutional rights of women
seeking abortions, such as individuals who aid or abet abortions by providing financial assistance,
transportation to an abortion clinic, or other forms of logistical support, including employers and
insurance companies who pay for abortions, and we urge district attorneys throughout the state of
Ohio to prosecute theseindividuals under the Ohio Human Rights and Heartbeat Protection Act
and the accomplice-liability provisions in section 2923.03 of the Ohio Revised Code.
(9) We declare that the Ohio Human Rights and Heartbeat Protection Act remains fully
enforceable against any person whose criminal prosecution will not result in an “undue burden”
on women seeking abortions, such as individuals who aid or abet abortions by providing financial
assistance, transportation to an abortion clinic, or other forms of logistical support, including
employers and insurance companies who pay for abortions, and we urge district attorneys
throughout the state of Ohio to criminally prosecute theseindividuals under the Ohio Human
Rights and Heartbeat Protection Act and the accomplice-liability provisions in section 2923.03 of
the Ohio Revised Code.
(10) We declare that all individuals who violate the Ohio Human Rights and Heartbeat
Protection Act, and all individuals who aid or abet violations of post-heartbeat abortion, are
criminals, regardless of whether a court has enjoined government officials from punishing these
individuals for their crimes.
(11) We declare that any abortion provider or other individual who violates the Ohio Human
Rights and Heartbeat Protection Act can be prosecuted for their crimes as soonas the injunction
preventing the enforcement of that statute is vacated on appeal or in response to a Supreme Court
ruling that overrules Roe v. Wade, 410 U.S. 113 (1973), as long as the six-year statute of
limitations for felony prosecutions has not expired.
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(12) We urge district attorneys throughout the state of Ohio to announce that they will prosecute
every person who has violated the Ohio Human Rights and Heartbeat Protection Act, and every
person who has aided or abetted a violation of the Ohio Human Rights and Heartbeat Protection
Act, as soon as any injunction against the enforcement of that law is vacated on appeal or in
response to a Supreme Court rulingthat overrules Roe v. Wade, 410 U.S. 113 (1973), to the
extent allowed by the six-yearstatute of limitations.
(13) We urge all residents of Lebanon and the state of Ohio to regard anyone who performs or
assists a post-heartbeat abortion as criminals, consistent with the law of Ohio, and to report
these criminal activities to district attorneys for future prosecution.
C. AMENDMENTS TO CITY CODE
The Lebanon Code of Ordinances is amended by adding sections 509.09 and 509.10 toread as
follows:
Sec. 509.09. Abortion.
       (A) It shall be unlawful for any person to procure or perform an abortion of anytype
       and at any stage of pregnancy in the city of Lebanon, Ohio.
       (B) It shall be unlawful for any person to knowingly aid or abet an abortion that occurs
       in the city of Lebanon, Ohio. This section does not prohibit referring a patient to have an
       abortion which takes place outside the city limits of Lebanon,Ohio. The prohibition in
       this section includes, but is not limited to, the following acts:
           (1) Knowingly providing transportation to or from an abortion provider;
           (2) Giving instructions over the telephone, the internet, or any other medium of
               communication regarding self-administered abortion;
           (3) Providing money with the knowledge that it will be used to pay for an
               abortion or the costs associated with procuring an abortion;
           (4) Providing “abortion doula” services; and
           (5) Coercing a pregnant mother to have an abortion against her will.(C) It
       shall be an affirmative defense to the unlawful acts described in
       Subsections (A) and (B) if the abortion was in response to a life-threatening physical
       condition aggravated by, caused by, or arising from a pregnancy that, as certified by a
       physician, places the woman in danger of death or a serious risk of substantial impairment
       of a major bodily function unless an abortion is performed.The defendant shall have the
       burden of proving this affirmative defense by a preponderance of the evidence.
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    (D) It shall be unlawful for any person to possess or distribute abortion-inducingdrugs
    in the city of Lebanon, Ohio.
    (E) No provision of this section may be construed to prohibit any action whichoccurs
    outside of the jurisdiction of the city of Lebanon, Ohio.
    (F) No provision of this section may be construed to prohibit any conduct protected by the
    First Amendment of the U.S. Constitution, as made applicable to state and local
    governments through the Supreme Court’s interpretation of the Fourteenth Amendment, or
    by Article 1, Section 11 of the Ohio Constitution.
    (G) Under no circumstance may the mother of the unborn child that has been aborted, or
    the pregnant woman who seeks to abort her unborn child, be subjectto prosecution or
    penalty under this section.
    (H) For purposes of this section, the following definitions shall apply:
       (1) “Abortion” means the act of using or prescribing an instrument, a drug, a medicine,
           or any other substance, device, or means with the intent to cause the death of an
           unborn child of a woman known to be pregnant. Theterm does not include birth-
           control devices or oral contraceptives, and it does not include Plan B, morning-after
           pills, or emergency contraception. An act is not an abortion if the act is done with
           the intent to:
               (a) save the life or preserve the health of an unborn child;
               (b) remove a dead, unborn child whose death was caused by
                   accidental miscarriage; or
               (c) remove an ectopic pregnancy.
       (2) “Unborn child” means a natural person from the moment of conceptionwho
           has not yet left the womb.

       (3) “Abortion-inducing drugs” includes mifepristone, misoprostol, and any drug or
           medication that is used to terminate the life of an unborn child. The termdoes not
           include birth-control devices or oral contraceptives, and it does not include Plan B,
           morning-after pills, or emergency contraception.

    (I) Mindful of Leavitt v. Jane L., 518 U.S. 137 (1996), in which in the context of
    determining the severability of a state statute regulating abortion the United States
    Supreme Court held that an explicit statement of legislative intent is controlling, the
    provisions and applications of this section shall be severable asfollows:
       (1) It is the intent of the city council that every provision, subsection, sentence, clause,
           phrase, or word in this section, and every application of the provisions in this
           section, are severable from each other. If any
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           application of any provision in this section to any person, group of persons, or
           circumstances is found by a court to be invalid or unconstitutional, then the
           remaining applications of that provision to all other persons and circumstances shall
           be severed and may not be affected. All constitutionally valid applications of this
           section shall be severed from any applications that a court finds to be invalid,
           leaving the valid applications in force, because it is the city council’s intent and
           prioritythat the valid applications be allowed to stand alone. Even if a reviewing
           court finds a provision of this section to impose an undue burden in a large or
           substantial fraction of relevant cases, the applications that do not present an undue
           burden shall be severed from the remaining applicationsand shall remain in force,
           and shall be treated as if the city council had enacted an ordinance limited to the
           persons, group of persons, or circumstances for which the section’s application do
           not present an undue burden. The city council further declares that it would have
           enacted this section, and each provision, section, subsection, sentence, clause,
           phrase, or word, and all constitutional applications of this section, irrespective of
           the fact that any provision, section, subsection, sentence, clause, phrase, or word,
           or applications of this section were to be declaredunconstitutional or to represent
           an undue burden.
        (2) If any court declares or finds a provision in this section facially unconstitutional,
            when there are discrete applications of that provision thatcan be enforced against a
            person, group of persons, or circumstances without violating the Constitution, then
            those applications shall be severedfrom all remaining applications of the provision,
            and the provision shall be interpreted as if the city council had enacted a provision
            limited to the persons, group of persons, or circumstances for which the provision’s
            application will not violate the Constitution.
        (3) If any provision of this section is found by any court to be unconstitutionally vague,
            then the applications of that provision that do notpresent constitutional vagueness
            problems shall be severed and remain inforce, consistent with the declarations of
            the city council’s intent in Subsections (I)(1) and (I)(2).
        (4) No court may decline to enforce the severability requirements in Subsections (I)(1),
            (I)(2), and (I)(3) on the ground that severance would “rewrite” the ordinance or
            involve the court in legislative or lawmaking activity. A court that declines to
            enforce or enjoins a locality or governmentofficial from enforcing a subset of an
            ordinance’s applications is never “rewriting” an ordinance, as the ordinance
            continues to say exactly what it said before. A judicial injunction or declaration of
            unconstitutionality is nothing more than a non-enforcement edict that can always
            be vacated by
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              later courts if they have a different understanding of what the Constitution requires;
              it is not a formal amendment of the language in a statute or ordinance. A judicial
              injunction or declaration of unconstitutionality no more “rewrites” an ordinance
              than a decision by an executive official not toenforce a duly enacted statute or
              ordinance in a limited and defined set of circumstances.
          (5) If any federal or state court ignores or declines to enforce the requirements of
              Subsections (I)(1), (I)(2), (I)(3), or (I)(4), or holds a provision of this section
              invalid or unconstitutional on its face after failing to enforce the severability
              requirements of Subsections (I)(1), (I)(2), and (I)(3), for any reason whatsoever,
              then the Mayor shall hold delegated authority to issue a saving construction of this
              section that avoids the constitutional problems or other problems identified by the
              federal or state court, while enforcing the provisions of this section to the
              maximum possible extent. The saving construction issued by the Mayor shall carry
              the same force of law as an ordinance; it shall represent the authoritative
              construction of this section in both federal and state judicial proceedings; and it
              shall remain in effect until the court ruling that declares invalid or enjoins the
              enforcement of the original provision in this section is overruled, vacated, or
              reversed.
          (6) The Mayor must issue the saving construction described in Subsection (I)(5) within
              20 days after a judicial ruling that declares invalid or enjoins the enforcement of a
              provision of this section after failing to enforce the severability requirements of
              Subsections (I)(1), (I)(2), and (I)(3). If the Mayor fails to issue the saving
              construction required by Subsections (I)(5) within 20 days after a judicial ruling
              that declares invalid or enjoins the enforcement of a provision of this ordinance
              after failing to enforce the severability requirements of Subsections (I)(1), (I)(2),
              and (I)(3), or if the Mayor’s saving construction fails to enforce the provisions of
              the ordinance to the maximum possible extent permitted by the Constitution orother
              superseding legal requirements, as construed by the federal or statejudiciaries, then
              any person may petition for a writ of mandamus requiring the Mayor to issue the
              saving construction described in Subsection (I)(5).

       (J) Whoever violates this section is guilty of a misdemeanor in the first degree.
Sec. 509.10. Abortions Performed in Violation of Ohio Law.
       (A) It is the policy of the city of Lebanon to ensure that the Ohio abortion laws areenforced
       to the maximum possible extent consistent with the Constitution and existing Supreme
       Court doctrine.
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     (B) Except as provided by subsection (D), it shall be unlawful for any person toperform
     an abortion in violation of any statute enacted by the Ohio legislature, including section
     2919.195 of the Ohio Revised Statutes.
     (C) Except as provided by subsection (D), it shall be unlawful for any person to knowingly
     aid or abet an abortion performed in violation of any statute enacted bythe Ohio legislature,
     including section 2919.195 of the Ohio Revised Statutes.
     The prohibition in this subsection includes, but is not limited to:
            (1) Knowingly providing transportation to or from an abortion provider;
            (2) Giving instructions over the telephone, the internet, or any other
            medium of communication regarding self-administered abortion;
            (3) Providing money with the knowledge that it will be used to pay for an
            abortion or the costs associated with procuring an abortion;
            (4) Providing “abortion doula” services;
            (5) Coercing a pregnant mother to have an abortion against her will; and
            (6) Engaging in conduct that makes one an accomplice to abortion undersection
            2923.03 of the Ohio Revised Code.
     This subsection may not be construed to impose civil or criminal liability on anyspeech
     or conduct protected by the First Amendment of the United States Constitution, as made
     applicable to the states through the United States Supreme Court's interpretation of the
     Fourteenth Amendment of the United States Constitution, or by Article 1, Section 11 of
     the Ohio Constitution.
     (D) Until the Supreme Court of the United States overrules Roe v. Wade, 410 U.S. 113
     (1973), or Planned Parenthood of Southeastern Pa. v. Casey, 505 U.S.833, 874 (1992), the
     prohibitions in subsections (B) and (C) may be enforced only against:
            (1) Persons who lack third-party standing to assert the rights of women seeking an
            abortion under the tests for third-party standing established bythe Supreme Court
            of the United States; or
            (2) Persons for whom prosecution and punishment will not impose anundue
            burden on women seeking abortions.
     (E) A person who violates this section may assert an affirmative defense if:
            (1) the person has standing to assert the third-party rights of a woman orgroup of
            women seeking an abortion under the tests for third-party standing established
            by the Supreme Court of the United States; and
            (2) the person demonstrates that his prosecution or punishment will impose an
            undue burden on that woman or that group of women seeking
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            an abortion. A defendant does not establish an “undue burden” under this
            subsection merely by demonstrating that the imposition of civil or criminal
            liability will prevent women from obtaining support or assistance, financial or
            otherwise, from others in their effort to obtain an abortion;
     (F) The affirmative defense under Subsection (e) is not available if the United States
     Supreme Court overrules Roe v. Wade, 410 U.S. 113 (1973), or PlannedParenthood v.
     Casey, 505 U.S. 833 (1992).
     (G) Nothing in this section shall in any way limit or preclude a defendant from asserting
     his or her own constitutional rights as a defense to civil or criminal liability, and a
     defendant is not liable under this section for any exercise of stateor federal constitutional
     rights that belong to the defendant personally.
     (H) Under no circumstance may the woman upon whom the unlawful abortion was
     performed, or the pregnant woman who seeks to abort her unborn child inviolation of
     Ohio law, be subject to prosecution or penalty under this section.
     (I) Mindful of Leavitt v. Jane L., 518 U.S. 137 (1996), in which in the context of
     determining the severability of a state statute regulating abortion the United States
     Supreme Court held that an explicit statement of legislative intent is controlling, the
     provisions and applications of this section shall be severable asfollows:
        (1) It is the intent of the city council that every provision, subsection, sentence, clause,
            phrase, or word in this section, and every application of the provisions in this
            section, are severable from each other. If any application of any provision in this
            section to any person, group of persons, or circumstances is found by a court to be
            invalid or unconstitutional, then the remaining applications of that provision to all
            other persons and circumstances shall be severed and may not be affected. All
            constitutionally valid applications of this section shall be severed from any
            applications that a court finds to be invalid, leaving the valid applications in force,
            because it is the city council’s intent and priority that the valid applications be
            allowed to stand alone. Even if a reviewing court finds a provision of this section
            to impose an undue burden in a largeor substantial fraction of relevant cases, the
            applications that do not present an undue burden shall be severed from the
            remaining applicationsand shall remain in force, and shall be treated as if the city
            council had enacted an ordinance limited to the persons, group of persons, or
            circumstances for which the section’s application do not present an undue burden.
            The city council further declares that it would have enacted this section, and each
            provision, section, subsection, sentence, clause, phrase, or word, and all
            constitutional applications of this section, irrespective of the fact that any provision,
            section, subsection, sentence,
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           clause, phrase, or word, or applications of this section were to be declared
           unconstitutional or to represent an undue burden.
        (2) If any court declares or finds a provision in this section facially unconstitutional,
            when there are discrete applications of that provision thatcan be enforced against a
            person, group of persons, or circumstances without violating the Constitution, then
            those applications shall be severedfrom all remaining applications of the provision,
            and the provision shall be interpreted as if the city council had enacted a provision
            limited to the persons, group of persons, or circumstances for which the provision’s
            application will not violate the Constitution.
        (3) If any provision of this section is found by any court to be unconstitutionally vague,
            then the applications of that provision that do notpresent constitutional vagueness
            problems shall be severed and remain inforce, consistent with the declarations of
            the city council’s intent in Subsections (I)(1) and (I)(2).
        (4) No court may decline to enforce the severability requirements in Subsections (I)(1),
            (I)(2), and (I)(3) on the ground that severance would “rewrite” the ordinance or
            involve the court in legislative or lawmaking activity. A court that declines to
            enforce or enjoins a locality or governmentofficial from enforcing a subset of an
            ordinance’s applications is never “rewriting” an ordinance, as the ordinance
            continues to say exactly what it said before. A judicial injunction or declaration of
            unconstitutionality is nothing more than a non-enforcement edict that can always
            be vacated by later courts if they have a different understanding of what the
            Constitution requires; it is not a formal amendment of the language in a statute or
            ordinance. A judicial injunction or declaration of unconstitutionality no more
            “rewrites” an ordinance than a decision by an executive official not toenforce a duly
            enacted statute or ordinance in a limited and defined set of circumstances.
        (5) If any federal or state court ignores or declines to enforce the requirements of
            Subsections (I)(1), (I)(2), (I)(3), or (I)(4), or holds a provision of this section
            invalid or unconstitutional on its face after failing to enforce the severability
            requirements of Subsections (I)(1), (I)(2), and (I)(3), for any reason whatsoever,
            then the Mayor shall hold delegated authority to issue a saving construction of this
            section that avoids the constitutional problems or other problems identified by the
            federal or state court, while enforcing the provisions of this section to the
            maximum possible extent. The saving construction issued by the Mayor shall carry
            the same force of law as an ordinance; it shall represent the authoritative
            construction of this section in both federal and state judicial proceedings; and it
            shall remain in effect until the court ruling that declares invalid or
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                 enjoins the enforcement of the original provision in this section is
                 overruled, vacated, or reversed.
             (6) The Mayor must issue the saving construction described in Subsection (I)(5) within
                 20 days after a judicial ruling that declares invalid or enjoins the enforcement of a
                 provision of this section after failing to enforce the severability requirements of
                 Subsections (I)(1), (I)(2), and (I)(3). If the Mayor fails to issue the saving
                 construction required by Subsections (I)(5) within 20 days after a judicial ruling
                 that declares invalid or enjoins the enforcement of a provision of this ordinance
                 after failing to enforce the severability requirements of Subsections (I)(1), (I)(2),
                 and (I)(3), or if the Mayor’s saving construction fails to enforce the provisions of
                 the ordinance to the maximum possible extent permitted by the Constitution orother
                 superseding legal requirements, as construed by the federal or statejudiciaries, then
                 any person may petition for a writ of mandamus requiring the Mayor to issue the
                 saving construction described in Subsection (I)(5).

          (J) Whoever violates this section is guilty of a misdemeanor in the first degree.

          (K) This ordinance is hereby declared to be an emergency measure necessary for the
              immediate preservation of the public health, safety, morals and welfare of the City of
              Lebanon, Ohio; and for the further reason that the immediate passage of this ordinance
              is necessary to preserve the lives of unborn children in Lebanon, Ohio then this
              ordinance shall take effect immediately upon its adoption.


                                                      _______________________________
                                                      Mayor
Passed:         ________________

Attest:



Clerk of Council


                                                        City           City         City
 Sponsors:                                              Manager        Auditor      Attorney



                                                       □□□
 Brewer, Messer, Mathews, Monroe, Shafer, Shope
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                      HILL DECLARATION
                              EXHIBIT B
5/10/22, 1:24 PM
               Case:        1:22-cv-00258-SJD Doc #: 14-2Mifeprex
                                                          Filed:(mifepristone)
                                                                  05/11/22Information
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                                                                                      | FDA




                                                             Mifeprex (mifepristone) Information
    Mifeprex (mifepristone) is used, together with another medication called misoprostol, to end an early pregnancy. FDA first approved Mifeprex in
    2000. In 2016, the agency approved a supplemental application for Mifeprex based on data and information submitted by the drug manufacturer.
    After reviewing the supplemental application, the agency determined that Mifeprex is safe and effective when used to terminate a pregnancy in
    accordance with the revised labeling. In 2019, FDA approved a generic version of Mifeprex, Mifepristone Tablets, 200 mg.


    FDA-Approved Regimen (2016)
    Mifepristone is approved, in a regimen with misoprostol, to end a pregnancy through 70 days gestation (70 days or less since the first day of a
    woman’s last menstrual period). The approved mifepristone dosing regimen is:

           On Day One: 200 mg of Mifeprex taken by mouth

           24 to 48 hours after taking Mifeprex: 800 mcg of misoprostol taken buccally (in the cheek pouch), at a location appropriate for the patient
           About seven to fourteen days after taking Mifeprex: follow-up with the healthcare provider


    Risk Evaluation and Mitigation Strategy (REMS)
    FDA previously approved a REMS for Mifeprex. In 2019, at the same time FDA approved the generic version of Mifeprex, the agency approved a
    single, shared system REMS for mifepristone products for the medical termination of intrauterine pregnancy through 70 days gestation (the
    Mifepristone REMS Program). Under the 2019 REMS:

           Mifeprex must be ordered, prescribed and dispensed by or under the supervision of a healthcare provider who prescribes and who meets
           certain qualifications;
           Healthcare providers who wish to prescribe Mifeprex must complete a Prescriber Agreement Form prior to ordering and dispensing Mifeprex;
           Mifeprex may only be dispensed in clinics, medical offices, and hospitals by or under the supervision of a certified healthcare provider;

           The healthcare provider must obtain a signed Patient Agreement Form before dispensing Mifeprex.

    Healthcare providers who prescribe Mifeprex are required under FDA regulations to provide the patient with a copy of the Mifeprex Medication
    Guide (FDA-approved information for patients).

    In 2021 FDA undertook a full review of the Mifepristone REMS Program. Based on that review, FDA has determined that the REMS will include the
    following elements:

           Mifepristone must be prescribed by or under the supervision of a certified healthcare provider who meets certain qualifications, including
           signing a Prescriber Agreement Form;
           The healthcare provider must obtain a signed Patient Agreement Form from the patient after counseling and prior to prescribing Mifeprex.

           Pharmacies that dispense mifepristone must be certified.

    In accordance with the typical process for REMS modifications, FDA has sent REMS Modification notification letters to the applicants for Mifeprex
    and the approved generic version of Mifeprex, Mifepristone Tablets, 200 mg. Following receipt of these letters, the applicants prepare proposed
    REMS modifications and submit them to FDA. Once those submissions are reviewed and approved, the REMS modifications will be effective. The
    revised REMS document and materials will be available within one day after approval on the FDA website at
    http://www.accessdata.fda.gov/scripts/cder/rems/index.cfm (http://www.accessdata.fda.gov/scripts/cder/rems/index.cfm).

    To learn more, including new information added on Dec. 16, 2021, please see Mifeprex (mifepristone) Questions and Answers (/drugs/postmarket-
    drug-safety-information-patients-and-providers/questions-and-answers-mifeprex).

       Do Not Buy Mifeprex or its Approved Generic Over the Internet

       You should not buy Mifeprex or its approved generic over the Internet because you will bypass important safeguards designed to protect your health.

       Mifeprex and its approved generic have special safety restrictions on how it is distributed to the public. Also, drugs purchased from foreign Internet sources are not the FDA-approved
       versions of the drugs, and they are not subject to FDA-regulated manufacturing controls or FDA inspection of manufacturing facilities.

       To learn more about buying drugs safely, please see BeSafeRx: Your Source for Online Pharmacy Information (/drugs/quick-tips-buying-medicines-over-internet/besaferx-your-source-
       online-pharmacy-information)



    Related Information
           Questions and Answers on Mifeprex (/drugs/postmarket-drug-safety-information-patients-and-providers/questions-and-answers-mifeprex)

https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/mifeprex-mifepristone-information                                                                            1/2
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               Case:   1:22-cv-00258-SJD Doc #: 14-2Mifeprex
                                                     Filed:(mifepristone)
                                                             05/11/22Information
                                                                          Page: 18   of 41 PAGEID #: 258
                                                                                 | FDA
          Historical Information on Mifepristone (marketed as Mifeprex) (http://wayback.archive-
          it.org/7993/20161022205309/http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm111334.htm
            (http://www.fda.gov/about-fda/website-policies/website-disclaimer)


    Labeling and Regulatory History from Drugs@FDA
    Mifeprex (mifepristone)

          Mifepristone (marketed as Mifeprex) Prescribing and Label Information (http://www.accessdata.fda.gov/scripts/cder/drugsatfda/index.cfm?
          fuseaction=Search.SearchAction&SearchTerm=mifeprex&SearchType=BasicSearch)

          Mifeprex label, 2016 (http://www.accessdata.fda.gov/drugsatfda_docs/label/2016/020687s020lbl.pdf)

          Mifeprex Medication Guide (/media/72923/download)
          Mifeprex (mifepristone) Patient Agreement Form (http://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
          29_Patient_Agreement_Form.pdf)

          Mifeprex (mifepristone) Prescriber Agreement Form (http://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifeprex_2016-03-
          29_Prescriber_Agreement_Form.pdf)

    Mifepristone Tablets, 200 mg

          Mifepristone Tablets, 200 mg Medication Guide (https://www.accessdata.fda.gov/drugsatfda_docs/label/2019/020687s022lbl.pdf#page=16)

          Mifepristone Tablets, 200 mg Patient Agreement Form
          (https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2021_05_14_Patient_Agreement_Form.pdf)

          Mifepristone Tablets, 200 mg Prescriber Agreement Form
          (https://www.accessdata.fda.gov/drugsatfda_docs/rems/Mifepristone_2021_05_14_Prescriber_Agreement_Form_GenBioPro_Inc.pdf)




https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/mifeprex-mifepristone-information                               2/2
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                      HILL DECLARATION
                              EXHIBIT C
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      HIGHLIGHTS OF PRESCRIBING INFORMATION
      These highlights do not include all the information needed to use                 ---------------------DOSAGE FORMS AND STRENGTHS----------------------
      MIFEPREX safely and effectively. See full prescribing information for             Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one
      MIFEPREX.                                                                         blister card (3)

      MIFEPREX® (mifepristone) tablets, for oral use                                    -------------------------------CONTRAINDICATIONS------------------------------
      Initial U.S. Approval: 2000                                                       • Confirmed/suspected ectopic pregnancy or undiagnosed adnexal mass (4)
                                                                                        • Chronic adrenal failure (4)
       WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                               • Concurrent long-term corticosteroid therapy (4)
                                       BLEEDING                                         • History of allergy to mifepristone, misoprostol, or other prostaglandins (4)
              See full prescribing information for complete boxed warning.              • Hemorrhagic disorders or concurrent anticoagulant therapy (4)
      Serious and sometimes fatal infections and bleeding occur very rarely             • Inherited porphyria (4)
      following spontaneous, surgical, and medical abortions, including                 • Intrauterine device (IUD) in place (4)
      following MIFEPREX use.
      • Atypical Presentation of Infection. Patients with serious bacterial              -----------------------WARNINGS AND PRECAUTIONS------------------------
          infections and sepsis can present without fever, bacteremia or                • Ectopic pregnancy: Exclude before treatment. (5.4)
          significant findings on pelvic examination. A high index of suspicion is      • Rhesus immunization: Prevention needed as for surgical abortion. (5.5)
          needed to rule out serious infection and sepsis. (5.1)
      • Bleeding. Prolonged heavy bleeding may be a sign of incomplete                  ------------------------------ADVERSE REACTIONS-------------------------------
          abortion or other complications and prompt medical or surgical                Most common adverse reactions (>15%) are nausea, weakness, fever/chills,
          intervention may be needed. (5.2)                                             vomiting, headache, diarrhea, and dizziness. (6)
      MIFEPREX is only available through a restricted program called the
      mifepristone REMS Program (5.3).                                                  To report SUSPECTED ADVERSE REACTIONS, contact Danco
      Before prescribing MIFEPREX, inform the patient about these risks.                Laboratories, LLC at 1-877-432-7596 or
      Ensure the patient knows whom to call and what to do if she experiences           medicaldirector@earlyoptionpill.com or www.earlyoptionpill.com or
      sustained fever, severe abdominal pain, prolonged heavy bleeding, or              FDA at 1-800-FDA-1088 or www.fda.gov/medwatch.
      syncope, or if she experiences abdominal pain or discomfort or general
      malaise for more than 24 hours after taking misoprostol.                          ------------------------------DRUG INTERACTIONS-------------------------------
      Advise the patient to take the MEDICATION GUIDE with her if she                   • CYP3A4 inducers can lower mifepristone concentrations. (7.1)
      visits an emergency room or another healthcare provider who did not               • CYP3A4 inhibitors can increase mifepristone concentrations. Use with
      prescribe MIFEPREX, so that provider knows that she is undergoing a                   caution. (7.2)
      medical abortion. (5.1, 5.2)                                                      • CYP3A4 substrate concentrations can be increased. Caution with
                                                                                            coadministration of substrates with narrow therapeutic margin. (7.3)
      ----------------------------INDICATIONS AND USAGE---------------------------
      MIFEPREX is a progestin antagonist indicated, in a regimen with                   -----------------------USE IN SPECIFIC POPULATIONS------------------------
      misoprostol, for the medical termination of intrauterine pregnancy through 70     • Pregnancy: Risk of fetal malformations in ongoing pregnancy if not
      days gestation. (1)                                                                   terminated is unknown. (8.1)
       ----------------------DOSAGE AND ADMINISTRATION-----------------------           See 17 for PATIENT COUNSELING INFORMATION, Medication
      • 200 mg MIFEPREX on Day 1, followed 24-48 hours after MIFEPREX                   Guide.
          dosing by 800 mcg buccal misoprostol. (2.1)
      • Instruct the patient what to do if significant adverse reactions occur. (2.2)                                                         Revised: XX/XXXX
      • Follow-up is needed to confirm complete termination of pregnancy. (2.3)

      _______________________________________________________________________________________________________________________________________


      FULL PRESCRIBING INFORMATION: CONTENTS*                                                 7.2 Drugs that May Increase Exposure (Effect of CYP 3A4 Inhibitors
                                                                                                   on MIFEPREX)
      WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                                      7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on
      BLEEDING                                                                                     CYP 3A4 Substrates)
      1 INDICATIONS AND USAGE                                                           8    USE IN SPECIFIC POPULATIONS
      2 DOSAGE AND ADMINISTRATION                                                             8.1 Pregnancy
         2.1 Dosing Regimen                                                                   8.2 Lactation
         2.2 Patient Management Following Misoprostol Administration                          8.4 Pediatric Use
         2.3 Post-treatment Assessment: Day 7 to 14                                     10   OVERDOSAGE
         2.4 Contact for Consultation                                                   11   DESCRIPTION
      3 DOSAGE FORMS AND STRENGTHS                                                      12   CLINICAL PHARMACOLOGY
      4 CONTRAINDICATIONS                                                                     12.1 Mechanism of Action
      5 WARNINGS AND PRECAUTIONS                                                              12.2 Pharmacodynamics
         5.1 Infections and Sepsis                                                            12.3 Pharmacokinetics
         5.2 Uterine Bleeding                                                           13   NONCLINICAL TOXICOLOGY
         5.3 Mifepristone REMS Program                                                        13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
         5.4 Ectopic Pregnancy                                                          14   CLINICAL STUDIES
         5.5 Rhesus Immunization                                                        16   HOW SUPPLIED/STORAGE AND HANDLING
      6 ADVERSE REACTIONS                                                               17   PATIENT COUNSELING INFORMATION
         6.1 Clinical Trials Experience
         6.2 Postmarketing Experience                                                   *Sections or subsections omitted from the full prescribing information are not
      7 DRUG INTERACTIONS                                                               listed.
         7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of
             CYP 3A4 Inducers on MIFEPREX)




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      ____________________________________________________________________________________________________________________________________



               FULL PRESCRIBING INFORMATION


                         WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR BLEEDING
               Serious and sometimes fatal infections and bleeding occur very rarely following
               spontaneous, surgical, and medical abortions, including following MIFEPREX use. No
               causal relationship between the use of MIFEPREX and misoprostol and these events
               has been established.
               •     Atypical Presentation of Infection. Patients with serious bacterial infections (e.g.,
                     Clostridium sordellii) and sepsis can present without fever, bacteremia, or
                     significant findings on pelvic examination following an abortion. Very rarely, deaths
                     have been reported in patients who presented without fever, with or without
                     abdominal pain, but with leukocytosis with a marked left shift, tachycardia,
                     hemoconcentration, and general malaise. A high index of suspicion is needed to
                     rule out serious infection and sepsis [see Warnings and Precautions (5.1)].
               •     Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other
                     complications and prompt medical or surgical intervention may be needed. Advise
                     patients to seek immediate medical attention if they experience prolonged heavy
                     vaginal bleeding [see Warnings and Precautions (5.2)].
               Because of the risks of serious complications described above, MIFEPREX is available
               only through a restricted program under a Risk Evaluation and Mitigation Strategy
               (REMS) called the mifepristone REMS Program [see Warnings and Precautions (5.3)].
               Before prescribing MIFEPREX, inform the patient about the risk of these serious
               events. Ensure that the patient knows whom to call and what to do, including going to
               an Emergency Room if none of the provided contacts are reachable, if she experiences
               sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if
               she experiences abdominal pain or discomfort, or general malaise (including
               weakness, nausea, vomiting, or diarrhea) for more than 24 hours after taking
               misoprostol.
               Advise the patient to take the Medication Guide with her if she visits an emergency
               room or a healthcare provider who did not prescribe MIFEPREX, so that the provider
               knows that she is undergoing a medical abortion.


               1        INDICATIONS AND USAGE
               MIFEPREX is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation.

               2        DOSAGE AND ADMINISTRATION
               2.1 Dosing Regimen
               For purposes of this treatment, pregnancy is dated from the first day of the last menstrual
               period. The duration of pregnancy may be determined from menstrual history and clinical
               examination. Assess the pregnancy by ultrasonographic scan if the duration of pregnancy is
               uncertain or if ectopic pregnancy is suspected.


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               Remove any intrauterine device (“IUD”) before treatment with MIFEPREX begins [see
               Contraindications (4)].
               The dosing regimen for MIFEPREX and misoprostol is:
               •     MIFEPREX 200 mg orally + misoprostol 800 mcg buccally
                     •   Day One: MIFEPREX Administration
                         One 200 mg tablet of MIFEPREX is taken in a single oral dose.
                     •   Day Two or Three: Misoprostol Administration (minimum 24-hour interval between
                         MIFEPREX and misoprostol)
                         Four 200 mcg tablets (total dose 800 mcg) of misoprostol are taken by the buccal route.

                         Tell the patient to place two 200 mcg misoprostol tablets in each cheek pouch (the area
                         between the cheek and gums) for 30 minutes and then swallow any remnants with water
                         or another liquid (see Figure 1).
                         Figure 1




                         2 pills between cheek and gum on left side + 2 pills between cheek and gum on
                         right side
               Patients taking MIFEPREX must take misoprostol within 24 to 48 hours after taking MIFEPREX.
               The effectiveness of the regimen may be lower if misoprostol is administered less than 24 hours
               or more than 48 hours after mifepristone administration.
               Because most women will expel the pregnancy within 2 to 24 hours of taking misoprostol [see
               Clinical Studies (14)], discuss with the patient an appropriate location for her to be when she
               takes the misoprostol, taking into account that expulsion could begin within 2 hours of
               administration.
               2.2 Patient Management Following Misoprostol Administration
               During the period immediately following the administration of misoprostol, the patient may need
               medication for cramps or gastrointestinal symptoms [see Adverse Reactions (6)].
               Give the patient:
                     •   Instructions on what to do if significant discomfort, excessive vaginal bleeding or other
                         adverse reactions occur
                     •   A phone number to call if she has questions following the administration of the
                         misoprostol



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                     •    The name and phone number of the healthcare provider who will be handling
                          emergencies.

               2.3 Post-treatment Assessment: Day 7 to 14
               Patients should follow-up with their healthcare provider approximately 7 to 14 days after the
               administration of MIFEPREX. This assessment is very important to confirm that complete
               termination of pregnancy has occurred and to evaluate the degree of bleeding. Termination can
               be confirmed by medical history, clinical examination, human Chorionic Gonadotropin (hCG)
               testing, or ultrasonographic scan. Lack of bleeding following treatment usually indicates failure;
               however, prolonged or heavy bleeding is not proof of a complete abortion.
               The existence of debris in the uterus (e.g., if seen on ultrasonography) following the treatment
               procedure will not necessarily require surgery for its removal.
               Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16 days.
               Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of
               women may experience some type of bleeding for more than 30 days. Persistence of heavy or
               moderate vaginal bleeding at the time of follow-up, however, could indicate an incomplete
               abortion.
               If complete expulsion has not occurred, but the pregnancy is not ongoing, women may be
               treated with another dose of misoprostol 800 mcg buccally. There have been rare reports of
               uterine rupture in women who took MIFEPREX and misoprostol, including women with prior
               uterine rupture or uterine scar and women who received multiple doses of misoprostol within 24
               hours. Women who choose to use a repeat dose of misoprostol should have a follow-up visit
               with their healthcare provider in approximately 7 days to assess for complete termination.
               Surgical evacuation is recommended to manage ongoing pregnancies after medical abortion
               [see Use in Specific Populations (8.1)]. Advise the patient whether you will provide such care or
               will refer her to another provider as part of counseling prior to prescribing MIFEPREX.
               2.4 Contact for Consultation
               For consultation 24 hours a day, 7 days a week with an expert in mifepristone, call Danco
               Laboratories at 1-877-4 Early Option (1-877-432-7596).

               3         DOSAGE FORMS AND STRENGTHS
               Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one blister card.
               MIFEPREX tablets are light yellow, cylindrical, and bi-convex tablets, approximately 11 mm in
               diameter and imprinted on one side with “MF.”

               4         CONTRAINDICATIONS
               •     Administration of MIFEPREX and misoprostol for the termination of pregnancy (the
                     “treatment procedure”) is contraindicated in patients with any of the following conditions:
                     -    Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass (the treatment
                          procedure will not be effective to terminate an ectopic pregnancy) [see Warnings and
                          Precautions (5.4)]
                     -    Chronic adrenal failure (risk of acute renal insufficiency)
                     -    Concurrent long-term corticosteroid therapy (risk of acute renal insufficiency)




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                     -    History of allergy to mifepristone, misoprostol, or other prostaglandins (allergic reactions
                          including anaphylaxis, angioedema, rash, hives, and itching have been reported [see
                          Adverse Reactions (6.2)])
                     -    Hemorrhagic disorders or concurrent anticoagulant therapy (risk of heavy bleeding)
                     -    Inherited porphyrias (risk of worsening or of precipitation of attacks)
               •     Use of MIFEPREX and misoprostol for termination of intrauterine pregnancy is
                     contraindicated in patients with an intrauterine device (“IUD”) in place (the IUD might
                     interfere with pregnancy termination). If the IUD is removed, MIFEPREX may be used.

               5         WARNINGS AND PRECAUTIONS
               5.1 Infection and Sepsis
               As with other types of abortion, cases of serious bacterial infection, including very rare cases of
               fatal septic shock, have been reported following the use of MIFEPREX [see Boxed Warning].
               Healthcare providers evaluating a patient who is undergoing a medical abortion should be alert
               to the possibility of this rare event. A sustained (> 4 hours) fever of 100.4°F or higher, severe
               abdominal pain, or pelvic tenderness in the days after a medical abortion may be an indication
               of infection.
               A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a patient
               reports abdominal pain or discomfort or general malaise (including weakness, nausea, vomiting,
               or diarrhea) more than 24 hours after taking misoprostol. Very rarely, deaths have been
               reported in patients who presented without fever, with or without abdominal pain, but with
               leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise. No
               causal relationship between MIFEPREX and misoprostol use and an increased risk of infection
               or death has been established. Clostridium sordellii infections have also been reported very
               rarely following childbirth (vaginal delivery and caesarian section), and in other gynecologic and
               non-gynecologic conditions.
               5.2 Uterine Bleeding
               Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy
               bleeding (soaking through two thick full-size sanitary pads per hour for two consecutive hours)
               may be a sign of incomplete abortion or other complications, and prompt medical or surgical
               intervention may be needed to prevent the development of hypovolemic shock. Counsel
               patients to seek immediate medical attention if they experience prolonged heavy vaginal
               bleeding following a medical abortion [see Boxed Warning].
               Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16 days.
               Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of all
               subjects may experience some type of bleeding for 30 days or more. In general, the duration of
               bleeding and spotting increased as the duration of the pregnancy increased.
               Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in
               women who bleed heavily.
               Excessive uterine bleeding usually requires treatment by uterotonics, vasoconstrictor drugs,
               surgical uterine evacuation, administration of saline infusions, and/or blood transfusions. Based
               on data from several large clinical trials, vasoconstrictor drugs were used in 4.3% of all subjects,
               there was a decrease in hemoglobin of more than 2 g/dL in 5.5% of subjects, and blood
               transfusions were administered to ≤ 0.1% of subjects. Because heavy bleeding requiring




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               surgical uterine evacuation occurs in about 1% of patients, special care should be given to
               patients with hemostatic disorders, hypocoagulability, or severe anemia.
               5.3 Mifepristone REMS Program
               MIFEPREX is available only through a restricted program under a REMS called the mifepristone
               REMS Program, because of the risks of serious complications [see Warnings and Precautions
               (5.1, 5.2)].
               Notable requirements of the mifepristone REMS Program include the following:
                     •    Prescribers must be certified with the program by completing the Prescriber Agreement
                          Form.
                     •    Patients must sign a Patient Agreement Form.
                     •    MIFEPREX must be dispensed to patients only in certain healthcare settings, specifically
                          clinics, medical offices and hospitals by or under the supervision of a certified prescriber.
               Further information is available at 1-877-4 Early Option (1-877-432-7596).
               5.4 Ectopic Pregnancy
               MIFEPREX is contraindicated in patients with a confirmed or suspected ectopic pregnancy
               because MIFEPREX is not effective for terminating ectopic pregnancies [see Contraindications
               (4)]. Healthcare providers should remain alert to the possibility that a patient who is undergoing
               a medical abortion could have an undiagnosed ectopic pregnancy because some of the
               expected symptoms experienced with a medical abortion (abdominal pain, uterine bleeding)
               may be similar to those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy
               may have been missed even if the patient underwent ultrasonography prior to being prescribed
               MIFEPREX.
               Women who became pregnant with an IUD in place should be assessed for ectopic pregnancy.
               5.5 Rhesus Immunization
               The use of MIFEPREX is assumed to require the same preventive measures as those taken
               prior to and during surgical abortion to prevent rhesus immunization.

               6         ADVERSE REACTIONS
               The following adverse reactions are described in greater detail in other sections:
               -     Infection and sepsis [see Warnings and Precautions (5.1)]
               -     Uterine bleeding [see Warnings and Precautions (5.2)]
               6.1 Clinical Trials Experience
               Because clinical studies are conducted under widely varying conditions, adverse reaction rates
               observed in the clinical studies of a drug cannot be directly compared to rates in the clinical
               studies of another drug and may not reflect the rates observed in practice.
               Information presented on common adverse reactions relies solely on data from U.S. studies,
               because rates reported in non-U.S. studies were markedly lower and are not likely generalizable
               to the U.S. population. In three U.S. clinical studies totaling 1,248 women through 70 days
               gestation who used mifepristone 200 mg orally followed 24-48 hours later by misoprostol 800
               mcg buccally, women reported adverse reactions in diaries and in interviews at the follow-up
               visit. These studies enrolled generally healthy women of reproductive age without
               contraindications to mifepristone or misoprostol use according to the MIFEPREX product label.




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               Gestational age was assessed prior to study enrollment using the date of the woman’s last
               menstrual period, clinical evaluation, and/or ultrasound examination.
               About 85% of patients report at least one adverse reaction following administration of
               MIFEPREX and misoprostol, and many can be expected to report more than one such reaction.
               The most commonly reported adverse reactions (>15%) were nausea, weakness, fever/chills,
               vomiting, headache, diarrhea, and dizziness (see Table 1). The frequency of adverse reactions
               varies between studies and may be dependent on many factors, including the patient population
               and gestational age.
               Abdominal pain/cramping is expected in all medical abortion patients and its incidence is not
               reported in clinical studies. Treatment with MIFEPREX and misoprostol is designed to induce
               uterine bleeding and cramping to cause termination of an intrauterine pregnancy. Uterine
               bleeding and cramping are expected consequences of the action of MIFEPREX and misoprostol
               as used in the treatment procedure. Most women can expect bleeding more heavily than they
               do during a heavy menstrual period [see Warnings and Precautions (5.2)].
               Table 1 lists the adverse reactions reported in U.S. clinical studies with incidence >15% of
               women.
                                                        Table 1
                Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                       Misoprostol (buccal) in U.S. Clinical Studies
               Adverse          # U.S.       Number of             Range of        Upper Gestational Age of
               Reaction        studies    Evaluable Women       frequency (%)         Studies Reporting
                                                                                          Outcome
               Nausea             3             1,248               51-75%                 70 days
               Weakness           2              630                55-58%                 63 days
               Fever/chills       1              414                 48%                   63 days
               Vomiting           3             1,248               37-48%                 70 days
               Headache           2              630                41-44%                 63 days
               Diarrhea           3             1,248               18-43%                 70 days
               Dizziness          2              630                39-41%                 63 days

               One study provided gestational-age stratified adverse reaction rates for women who were 57-63
               and 64-70 days; there was little difference in frequency of the reported common adverse
               reactions by gestational age.
               Information on serious adverse reactions was reported in six U.S. and four non-U.S. clinical
               studies, totaling 30,966 women through 70 days gestation who used mifepristone 200 mg orally
               followed 24-48 hours later by misoprostol 800 mcg buccally. Serious adverse reaction rates
               were similar between U.S. and non-U.S. studies, so rates from both U.S. and non-U.S. studies
               are presented. In the U.S. studies, one studied women through 56 days gestation, four through
               63 days gestation, and one through 70 days gestation, while in the non-U.S. studies, two
               studied women through 63 days gestation, and two through 70 days gestation. Serious adverse
               reactions were reported in <0.5% of women. Information from the U.S. and non-U.S. studies is
               presented in Table 2.




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                                                           Table 2
               Serious Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                  Misoprostol (buccal) in U.S. and Non-U.S. Clinical Studies
               Adverse                             U.S.                                    Non-U.S.
               Reaction            # of      Number of           Range of      # of     Number of    Range of
                                 studies     Evaluable          frequency    studies    Evaluable   frequency
                                               Women                (%)                   Women         (%)
               Transfusion             4           17,774          0.03-0.5%         3         12,134       0-0.1%
               Sepsis                  1            629               0.2%           1         11,155      <0.01%*

               ER visit               2              1,043           2.9-4.6%         1            95          0
               Hospitalization        3             14,339          0.04-0.6%         3          1,286      0-0.7%
               Related to
               Medical
               Abortion
               Infection without      1               216                0            1         11,155       0.2%
               sepsis
               Hemorrhage            NR               NR                NR            1         11,155       0.1%
               NR= Not reported
               * This outcome represents a single patient who experienced death related to sepsis.
               6.2       Postmarketing Experience
               The following adverse reactions have been identified during postapproval use of MIFEPREX
               and misoprostol. Because these reactions are reported voluntarily from a population of
               uncertain size, it is not always possible to reliably estimate their frequency or establish a causal
               relationship to drug exposure.
               Infections and infestations: post-abortal infection (including endometritis, endomyometritis,
               parametritis, pelvic infection, pelvic inflammatory disease, salpingitis)
               Blood and the lymphatic system disorders: anemia
               Immune system disorders: allergic reaction (including anaphylaxis, angioedema, hives, rash,
               itching)
               Psychiatric disorders: anxiety
               Cardiac disorders: tachycardia (including racing pulse, heart palpitations, heart pounding)
               Vascular disorders: syncope, fainting, loss of consciousness, hypotension (including
               orthostatic), light-headedness
               Respiratory, thoracic and mediastinal disorders: shortness of breath
               Gastrointestinal disorders: dyspepsia
               Musculoskeletal, connective tissue and bone disorders: back pain, leg pain
               Reproductive system and breast disorders: uterine rupture, ruptured ectopic pregnancy,
               hematometra, leukorrhea
               General disorders and administration site conditions: pain

               7        DRUG INTERACTIONS
               7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of CYP 3A4 Inducers on
                   MIFEPREX)
               CYP450 3A4 is primarily responsible for the metabolism of mifepristone. CYP3A4 inducers such
               as rifampin, dexamethasone, St. John’s Wort, and certain anticonvulsants (such as phenytoin,
               phenobarbital, carbamazepine) may induce mifepristone metabolism (lowering serum
               concentrations of mifepristone). Whether this action has an impact on the efficacy of the dose




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               regimen is unknown. Refer to the follow-up assessment [see Dosage and Administration (2.3 )]
               to verify that treatment has been successful.
               7.2 Drugs that May Increase MIFEPREX Exposure (Effect of CYP 3A4 Inhibitors on
                   MIFEPREX)
               Although specific drug or food interactions with mifepristone have not been studied, on the basis
               of this drug’s metabolism by CYP 3A4, it is possible that ketoconazole, itraconazole,
               erythromycin, and grapefruit juice may inhibit its metabolism (increasing serum concentrations
               of mifepristone). MIFEPREX should be used with caution in patients currently or recently treated
               with CYP 3A4 inhibitors.
               7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on CYP 3A4 Substrates)
               Based on in vitro inhibition information, coadministration of mifepristone may lead to an increase
               in serum concentrations of drugs that are CYP 3A4 substrates. Due to the slow elimination of
               mifepristone from the body, such interaction may be observed for a prolonged period after its
               administration. Therefore, caution should be exercised when mifepristone is administered with
               drugs that are CYP 3A4 substrates and have narrow therapeutic range.

               8        USE IN SPECIFIC POPULATIONS
               8.1 Pregnancy
               Risk Summary
               Mifepristone is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Risks to pregnant women are discussed
               throughout the labeling.
               Refer to misoprostol labeling for risks to pregnant women with the use of misoprostol.
               The risk of adverse developmental outcomes with a continued pregnancy after a failed
               pregnancy termination with MIFEPREX in a regimen with misoprostol is unknown; however, the
               process of a failed pregnancy termination could disrupt normal embryo-fetal development and
               result in adverse developmental effects. Birth defects have been reported with a continued
               pregnancy after a failed pregnancy termination with MIFEPREX in a regimen with misoprostol.
               In animal reproduction studies, increased fetal losses were observed in mice, rats, and rabbits
               and skull deformities were observed in rabbits with administration of mifepristone at doses lower
               than the human exposure level based on body surface area.
               Data
               Animal Data
               In teratology studies in mice, rats and rabbits at doses of 0.25 to 4.0 mg/kg (less than 1/100 to
               approximately 1/3 the human exposure based on body surface area), because of the
               antiprogestational activity of mifepristone,fetal losses were much higher than in control animals.
               Skull deformities were detected in rabbit studies at approximately 1/6 the human exposure,
               although no teratogenic effects of mifepristone have been observed to date in rats or mice.
               These deformities were most likely due to the mechanical effects of uterine contractions
               resulting from inhibition of progesterone action.
               8.2 Lactation
               MIFEPREX is present in human milk. Limited data demonstrate undetectable to low levels of
               the drug in human milk with the relative (weight-adjusted) infant dose 0.5% or less as compared
               to maternal dosing. There is no information on the effects of MIFEPREX in a regimen with




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               misoprostol in a breastfed infant or on milk production. Refer to misoprostol labeling for
               lactation information with the use of misoprostol. The developmental and health benefits of
               breast-feeding should be considered along with any potential adverse effects on the breast-fed
               child from MIFEPREX in a regimen with misoprostol.
               8.4 Pediatric Use
               Safety and efficacy of MIFEPREX have been established in pregnant females. Data from a
               clinical study of MIFEPREX that included a subset of 322 females under age 17 demonstrated a
               safety and efficacy profile similar to that observed in adults.


               10       OVERDOSAGE
               No serious adverse reactions were reported in tolerance studies in healthy non-pregnant female
               and healthy male subjects where mifepristone was administered in single doses greater than
               1800 mg (ninefold the recommended dose for medical abortion). If a patient ingests a massive
               overdose, she should be observed closely for signs of adrenal failure.


               11       DESCRIPTION
               MIFEPREX tablets each contain 200 mg of mifepristone, a synthetic steroid with
               antiprogestational effects. The tablets are light yellow in color, cylindrical, and bi-convex, and
               are intended for oral administration only. The tablets include the inactive ingredients colloidal
               silica anhydrous, corn starch, povidone, microcrystalline cellulose, and magnesium stearate.
               Mifepristone is a substituted 19-nor steroid compound chemically designated as 11ß-[p-
               (Dimethylamino)phenyl]-17ß-hydroxy-17-(1-propynyl)estra-4,9-dien-3-one. Its empirical formula
               is C29H35NO2. Its structural formula is:




               The compound is a yellow powder with a molecular weight of 429.6 and a melting point of 192-
               196°C. It is very soluble in methanol, chloroform and acetone and poorly soluble in water,
               hexane and isopropyl ether.


               12       CLINICAL PHARMACOLOGY
               12.1 Mechanism of Action
               The anti-progestational activity of mifepristone results from competitive interaction with
               progesterone at progesterone-receptor sites. Based on studies with various oral doses in
               several animal species (mouse, rat, rabbit, and monkey), the compound inhibits the activity of
               endogenous or exogenous progesterone, resulting in effects on the uterus and cervix that, when
               combined with misoprostol, result in termination of an intrauterine pregnancy.




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               During pregnancy, the compound sensitizes the myometrium to the contraction-inducing activity
               of prostaglandins.
               12.2 Pharmacodynamics
               Use of MIFEPREX in a regimen with misoprostol disrupts pregnancy by causing decidual
               necrosis, myometrial contractions, and cervical softening, leading to the expulsion of the
               products of conception.
               Doses of 1 mg/kg or greater of mifepristone have been shown to antagonize the endometrial
               and myometrial effects of progesterone in women.
               Antiglucocorticoid and antiandrogenic activity: Mifepristone also exhibits antiglucocorticoid and
               weak antiandrogenic activity. The activity of the glucocorticoid dexamethasone in rats was
               inhibited following doses of 10 to 25 mg/kg of mifepristone. Doses of 4.5 mg/kg or greater in
               human beings resulted in a compensatory elevation of adrenocorticotropic hormone (ACTH)
               and cortisol. Antiandrogenic activity was observed in rats following repeated administration of
               doses from 10 to 100 mg/kg.
               12.3 Pharmacokinetics
               Mifepristone is rapidly absorbed after oral ingestion with non-linear pharmacokinetics for Cmax
               after single oral doses of 200 mg and 600 mg in healthy subjects.
               Absorption
               The absolute bioavailability of a 20 mg mifepristone oral dose in women of childbearing age is
               69%. Following oral administration of a single dose of 600 mg, mifepristone is rapidly absorbed,
               with a peak plasma concentration of 1.98 ± 1.0 mg/L occurring approximately 90 minutes after
               ingestion.
               Following oral administration of a single dose of 200 mg in healthy men (n=8), mean Cmax was
               1.77 ± 0.7 mg/L occurring approximately 45 minutes after ingestion. Mean AUC0-∞ was 25.8 ± 6.2
               mg*hr/L.
               Distribution
               Mifepristone is 98% bound to plasma proteins, albumin, and α1-acid glycoprotein. Binding to the
               latter protein is saturable, and the drug displays nonlinear kinetics with respect to plasma
               concentration and clearance.
               Elimination
               Following a distribution phase, elimination of mifepristone is slow at first (50% eliminated
               between 12 and 72 hours) and then becomes more rapid with a terminal elimination half-life of
               18 hours.
               Metabolism
               Metabolism of mifepristone is primarily via pathways involving N-demethylation and terminal
               hydroxylation of the 17-propynyl chain. In vitro studies have shown that CYP450 3A4 is primarily
               responsible for the metabolism. The three major metabolites identified in humans are: (1) RU 42
               633, the most widely found in plasma, is the N-monodemethylated metabolite; (2) RU 42 848,
               which results from the loss of two methyl groups from the 4-dimethylaminophenyl in position
               11ß; and (3) RU 42 698, which results from terminal hydroxylation of the 17-propynyl chain.
               Excretion
               By 11 days after a 600 mg dose of tritiated compound, 83% of the drug has been accounted for
               by the feces and 9% by the urine. Serum concentrations are undetectable by 11 days.



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               Specific Populations
               The effects of age, hepatic disease and renal disease on the safety, efficacy and
               pharmacokinetics of mifepristone have not been investigated.


               13       NONCLINICAL TOXICOLOGY
               13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
               Carcinogenesis
               No long-term studies to evaluate the carcinogenic potential of mifepristone have been
               performed.
               Mutagenesis
               Results from studies conducted in vitro and in animals have revealed no genotoxic potential for
               mifepristone. Among the tests carried out were: Ames test with and without metabolic activation;
               gene conversion test in Saccharomyces cerevisiae D4 cells; forward mutation in
               Schizosaccharomyces pompe P1 cells; induction of unscheduled DNA synthesis in cultured
               HeLa cells; induction of chromosome aberrations in CHO cells; in vitro test for gene mutation in
               V79 Chinese hamster lung cells; and micronucleus test in mice.
               Impairment of Fertility
               In rats, administration of 0.3 mg/kg mifepristone per day caused severe disruption of the estrus
               cycles for the three weeks of the treatment period. Following resumption of the estrus cycle,
               animals were mated and no effects on reproductive performance were observed.


               14       CLINICAL STUDIES
               Safety and efficacy data from clinical studies of mifepristone 200 mg orally followed 24-48 hours
               later by misoprostol 800 mcg buccally through 70 days gestation are reported below. Success
               was defined as the complete expulsion of the products of conception without the need for
               surgical intervention. The overall rates of success and failure, shown by reason for failure based
               on 22 worldwide clinical studies (including 7 U.S. studies) appear in Table 3.
               The demographics of women who participated in the U.S. clinical studies varied depending on
               study location and represent the racial and ethnic variety of American females. Females of all
               reproductive ages were represented, including females less than 18 and more than 40 years of
               age; most were 27 years or younger.




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                                                          Table 3
                         Outcome Following Treatment with Mifepristone (oral) and Misoprostol (buccal)
                                                Through 70 Days Gestation
                                                      U.S. Trials                     Non-U.S. Trials
                              N                                      16,794                                  18,425
               Complete Medical Abortion                             97.4%                                   96.2%


                    Surgical Intervention*                           2.6%                                    3.8%
                    Ongoing Pregnancy**                              0.7%                                    0.9%
               *  Reasons for surgical intervention include ongoing pregnancy, medical necessity, persistent or heavy bleeding
                  after treatment, patient request, or incomplete expulsion.
               ** Ongoing pregnancy is a subcategory of surgical intervention, indicating the percent of women who have
                  surgical intervention due to an ongoing pregnancy.


               The results for clinical studies that reported outcomes, including failure rates for ongoing
               pregnancy, by gestational age are presented in Table 4.
                                                             Table 4
                             Outcome by Gestational Age Following Treatment with Mifepristone and
                                   Misoprostol (buccal) for U.S. and Non-U.S. Clinical Studies
                                     <49 days                 50-56 days                  57-63 days                64-70 days
                              N       %     Number of   N      %      Number of    N       %     Number of   N       %    Number of
                                            Evaluable                 Evaluable                  Evaluable                Evaluable
                                             Studies                   Studies                    Studies                  Studies
               Complete     12,046   98.1      10     3,941   96.8        7       2,294   94.7       9       479   92.7       4
               medical
               abortion
               Surgical     10,272   0.3        6     3,788   0.8           6     2,211     2          8     453    3.1          3
               intervention
               for ongoing
               pregnancy


               One clinical study asked subjects through 70 days gestation to estimate when they expelled the
               pregnancy, with 70% providing data. Of these, 23-38% reported expulsion within 3 hours and
               over 90% within 24 hours of using misoprostol.


               16       HOW SUPPLIED/STORAGE AND HANDLING
               MIFEPREX is only available through a restricted program called themifepristone REMS
               Program [see Warnings and Precautions (5.3)].
               MIFEPREX is supplied as light yellow, cylindrical, and bi-convex tablets imprinted on one side
               with “MF.” Each tablet contains 200 mg of mifepristone. One tablet is individually blistered on
               one blister card that is packaged in an individual package (National Drug Code 64875-001-01).
               Store at 25°C (77°F); excursions permitted to 15 to 30°C (59 to 86°F) [see USP Controlled
               Room Temperature].




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               17       PATIENT COUNSELING INFORMATION
               Advise the patient to read the FDA-approved patient labeling (Medication Guide), included with
               each package of MIFEPREX. Additional copies of the Medication Guide are available by
               contacting Danco Laboratories at 1-877-4 Early Option (1-877-432-7596) or from
               www.earlyoptionpill.com.
               Serious Infections and Bleeding
                    •    Inform the patient that uterine bleeding and uterine cramping will occur [see Warnings
                         and Precautions (5.2)].
                    •    Advise the patient that serious and sometimes fatal infections and bleeding can occur
                         very rarely [see Warnings and Precautions (5.1, 5.2)].
                    •    MIFEPREX is only available through a restricted program called the mifepristone REMS
                         Program [see Warnings and Precautions (5.3)]. Under the mifepristone REMS Program:
                            o   Patients must sign a Patient Agreement Form.
                            o   MIFEPREX is only available in clinics, medical offices and hospitals and not
                                through retail pharmacies.
               Provider Contacts and Actions in Case of Complications
                    •    Ensure that the patient knows whom to call and what to do, including going to an
                         Emergency Room if none of the provided contacts are reachable, or if she experiences
                         complications including prolonged heavy bleeding, severe abdominal pain, or sustained
                         fever [see Boxed Warning].
                    •    Advise the patient to take the Medication Guide with her if she visits an emergency room
                         or another healthcare provider who did not prescribe MIFEPREX, so that provider will be
                         aware that the patient is undergoing a medical abortion with MIFEPREX.
               Compliance with Treatment Schedule and Follow-up Assessment
                    •    Advise the patient that it is necessary to complete the treatment schedule, including a
                         follow-up assessment approximately 7 to14 days after taking MIFEPREX [see Dosage
                         and Administration (2.3)].
                    •    Explain that
                            o   prolonged heavy vaginal bleeding is not proof of a complete abortion,
                            o   if the treatment fails and the pregnancy continues, the risk of fetal malformation is
                                unknown,
                            o   it is recommended that ongoing pregnancy be managed by surgical termination
                                [see Dosage and Administration (2.3)]. Advise the patient whether you will
                                provide such care or will refer her to another provider.
               Subsequent Fertility
                    •    Inform the patient that another pregnancy can occur following medical abortion and
                         before resumption of normal menses.
                    •    Inform the patient that contraception can be initiated as soon as pregnancy expulsion
                         has been confirmed, or before she resumes sexual intercourse.
               MIFEPREX is a registered trademark of Danco Laboratories, LLC.




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               Manufactured for:
               Danco Laboratories, LLC
               P.O. Box 4816
               New York, NY 10185
               1-877-4 Early Option (1-877-432-7596)
               www.earlyoptionpill.com


               XX/XXXX




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                                                         MEDICATION GUIDE
                                       Mifeprex (MIF-eh-prex) (mifepristone) tablets, for oral use
               Read this information carefully before taking Mifeprex and misoprostol. It will help you understand how
               the treatment works. This Medication Guide does not take the place of talking with your healthcare
               provider.
               What is the most important information I should know about Mifeprex?
               What symptoms should I be concerned with? Although cramping and bleeding are an expected part of
               ending a pregnancy, rarely, serious and potentially life-threatening bleeding, infections, or other problems
               can occur following a miscarriage, surgical abortion, medical abortion, or childbirth. Seeking medical
               attention as soon as possible is needed in these circumstances. Serious infection has resulted in death in
               a very small number of cases. There is no information that use of Mifeprex and misoprostol caused these
               deaths. If you have any questions, concerns, or problems, or if you are worried about any side effects or
               symptoms, you should contact your healthcare provider. You can write down your healthcare provider’s
               telephone number here ________________________.
               Be sure to contact your healthcare provider promptly if you have any of the following:

               • Heavy Bleeding. Contact your healthcare provider right away if you bleed enough to soak through two
                 thick full-size sanitary pads per hour for two consecutive hours or if you are concerned about heavy
                 bleeding. In about 1 out of 100 women, bleeding can be so heavy that it requires a surgical procedure
                 (surgical aspiration or D&C).

               • Abdominal Pain or “Feeling Sick.” If you have abdominal pain or discomfort, or you are “feeling
                 sick,” including weakness, nausea, vomiting, or diarrhea, with or without fever, more than 24 hours
                 after taking misoprostol, you should contact your healthcare provider without delay. These symptoms
                 may be a sign of a serious infection or another problem (including an ectopic pregnancy, a pregnancy
                 outside the womb).
               • Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for more than 4
                 hours, you should contact your healthcare provider right away. Fever may be a symptom of a serious
                 infection or another problem.
               If you cannot reach your healthcare provider, go to the nearest hospital emergency room. Take
               this Medication Guide with you. When you visit an emergency room or a healthcare provider who did
               not give you your Mifeprex, you should give them your Medication Guide so that they understand that you
               are having a medical abortion with Mifeprex.
               What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are still
               pregnant, your healthcare provider will talk with you about a surgical procedure to end your pregnancy. In
               many cases, this surgical procedure can be done in the office/clinic. The chance of birth defects if the
               pregnancy is not ended is unknown.
               Talk with your healthcare provider. Before you take Mifeprex, you should read this Medication Guide
               and you and your healthcare provider should discuss the benefits and risks of your using Mifeprex.




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               What is Mifeprex?
               Mifeprex is used in a regimen with another prescription medicine called misoprostol, to end an
               early pregnancy. Early pregnancy means it is 70 days (10 weeks) or less since your last menstrual
               period began. Mifeprex is not approved for ending pregnancies that are further along. Mifeprex blocks a
               hormone needed for your pregnancy to continue. When you use Mifeprex on Day 1, you also need to take
               another medicine called misoprostol 24 to 48 hours after you take Mifeprex, to cause the pregnancy to be
               passed from your uterus.
               The pregnancy is likely to be passed from your uterus within 2 to 24 hours after taking Mifeprex and
               misoprostol. When the pregnancy is passed from the uterus, you will have bleeding and cramping that
               will likely be heavier than your usual period. About 2 to 7 out of 100 women taking Mifeprex will need a
               surgical procedure because the pregnancy did not completely pass from the uterus or to stop bleeding.
               Who should not take Mifeprex?
               Some women should not take Mifeprex. Do not take Mifeprex if you:

               • Have a pregnancy that is more than 70 days (10 weeks). Your healthcare provider may do a clinical
                 examination, an ultrasound examination, or other testing to determine how far along you are in
                 pregnancy.

               • Are using an IUD (intrauterine device or system). It must be taken out before you take Mifeprex.
               • Have been told by your healthcare provider that you have a pregnancy outside the uterus (ectopic
                 pregnancy).

               • Have problems with your adrenal glands (chronic adrenal failure).

               • Take a medicine to thin your blood.
               • Have a bleeding problem.
               • Have porphyria.

               • Take certain steroid medicines.
               • Are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as Cytotec or
                 Arthrotec.
               Ask your healthcare provider if you are not sure about all your medical conditions before taking this
               medicine to find out if you can take Mifeprex.
               What should I tell my healthcare provider before taking Mifeprex?
               Before you take Mifeprex, tell your healthcare provider if you:
               • cannot follow-up within approximately 7 to 14 days of your first visit
               • are breastfeeding. Mifeprex can pass into your breast milk. The effect of the Mifeprex and misoprostol
                 regimen on the breastfed infant or on milk production is unknown.
               • are taking medicines, including prescription and over-the-counter medicines, vitamins, and herbal
                 supplements.
                 Mifeprex and certain other medicines may affect each other if they are used together. This can cause
                 side effects.




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               How should I take Mifeprex?
               • Mifeprex will be given to you by a healthcare provider in a clinic, medical office, or hospital.
               • You and your healthcare provider will plan the most appropriate location for you to take the
                 misoprostol, because it may cause bleeding, cramps, nausea, diarrhea, and other symptoms that
                 usually begin within 2 to 24 hours after taking it.

               • Most women will pass the pregnancy within 2 to 24 hours after taking the misoprostol tablets.
               Follow the instruction below on how to take Mifeprex and misoprostol:
               Mifeprex (1 tablet) orally + misoprostol (4 tablets) buccally
               Day 1:
                    •   Take 1 Mifeprex tablet by mouth.

                    •   Your healthcare provider will either give you or
                        prescribe for you 4 misoprostol tablets to take 24 to
                        48 hours later.
               24 to 48 hours after taking Mifeprex:

                    •   Place 2 misoprostol tablets in each cheek pouch
                        (the area between your teeth and cheek - see Figure
                        A) for 30 minutes and then swallow anything left
                        over with a drink of water or another liquid.

                    •   The medicines may not work as well if you take
                        misoprostol sooner than 24 hours after Mifeprex or
                        later than 48 hours after Mifeprex.

                    •   Misoprostol often causes cramps, nausea, diarrhea,
                        and other symptoms. Your healthcare provider may
                        send you home with medicines for these symptoms.         Figure A (2 tablets between your left
                                                                                 cheek and gum and 2 tablets between
                                                                                 your right cheek and gum).
               Follow-up Assessment at Day 7 to 14:

               • This follow-up assessment is very important. You must follow-up with your healthcare provider about
                 7 to 14 days after you have taken Mifeprex to be sure you are well and that you have had bleeding and
                 the pregnancy has passed from your uterus.
               • Your healthcare provider will assess whether your pregnancy has passed from your uterus. If your
                 pregnancy continues, the chance that there may be birth defects is unknown. If you are still pregnant,
                 your healthcare provider will talk with you about a surgical procedure to end your pregnancy.

               • If your pregnancy has ended, but has not yet completely passed from your uterus, your provider will
                 talk with you about other choices you have, including waiting, taking another dose of misoprostol, or
                 having a surgical procedure to empty your uterus.




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               When should I begin birth control?
               You can become pregnant again right after your pregnancy ends. If you do not want to become pregnant
               again, start using birth control as soon as your pregnancy ends or before you start having sexual
               intercourse again.
               What should I avoid while taking Mifeprex and misoprostol?
               Do not take any other prescription or over-the-counter medicines (including herbal medicines or
               supplements) at any time during the treatment period without first asking your healthcare provider about
               them because they may interfere with the treatment. Ask your healthcare provider about what medicines
               you can take for pain and other side effects.
               What are the possible side effects of Mifeprex and misoprostol?
               Mifeprex may cause serious side effects. See “What is the most important information I should
               know about Mifeprex?”
               Cramping and bleeding. Cramping and vaginal bleeding are expected with this treatment. Usually, these
               symptoms mean that the treatment is working. But sometimes you can get cramping and bleeding and
               still be pregnant. This is why you must follow-up with your healthcare provider approximately 7 to 14 days
               after taking Mifeprex. See “How should I take Mifeprex?” for more information on your follow-up
               assessment. If you are not already bleeding after taking Mifeprex, you probably will begin to bleed once
               you take misoprostol, the medicine you take 24 to 48 hours after Mifeprex. Bleeding or spotting can be
               expected for an average of 9 to16 days and may last for up to 30 days. Your bleeding may be similar to,
               or greater than, a normal heavy period. You may see blood clots and tissue. This is an expected part of
               passing the pregnancy.
               The most common side effects of Mifeprex treatment include: nausea, weakness, fever/chills, vomiting,
               headache, diarrhea and dizziness. Your provider will tell you how to manage any pain or other side
               effects.These are not all the possible side effects of Mifeprex.
               Call your healthcare provider for medical advice about any side effects that bother you or do not go away.
               You may report side effects to FDA at 1-800-FDA-1088.
               General information about the safe and effective use of Mifeprex.
               Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide.
               This Medication Guide summarizes the most important information about Mifeprex. If you would
               like more information, talk with your healthcare provider. You may ask your healthcare provider
               for information about Mifeprex that is written for healthcare professionals.
               For more information about Mifeprex, go to www.earlyoptionpill.com or call 1-877-4 Early Option
               (1-877-432-7596).


               Manufactured for: Danco Laboratories, LLC
               P.O. Box 4816
               New York, NY 10185
               1-877-4 Early Option (1-877-432-7596) www.earlyoptionpill.com
               This Medication Guide has been approved by the U.S. Food and Drug Administration.        Approval 3/2016




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                      HILL DECLARATION
                              EXHIBIT D
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                                                J effrey W. Mitchell
                                                    C hief of Police
CFS - Command Log

CFS#                    CFS21020892
Call Taker              D2 Carlisle
Location                25 W SILVER ST, LEBANON , OH 45036 (LEBANON POLICE DEPT)
Location Details
Primary Incident Code   VC : VICE COMPLAINT
Priority                2
Use Caution             No
Primary Disposition     Report Taken
Call Time               10/29/2110:25:07
Completed Time          10/29/2111:18:46


IReporters
NORMAN, MICHAEL WAYNE (Initial Reporter)
Sex           Male
DOB           1/2/69
Address       188 S OAK ST
              LONDON , OH 43140
Report Time   10/29/2110:25:00
How Reported Walk In
From Phone    (740) 604-0647
Contact Phone
Comments


IOther Names
IVehicles
IResponders
101 (Primary)               101 - Mitchell, Jeffrey       Lebanon PD (Primary)


IResponse Times
Assigned     10/29/2110:41:57
Enroute      10/29/2110:42:05 *
Arrived      10/29/2110:42:05
Completed    10/29/2111:18:46


I1R / External Agency Numbers
IOfficer Addenda
 Command Log Filter: All Commands I Details: Hidden I Units: All Units I Revised Entries: Shown
10/29/2110:25:07 I Carlisle, D2 I New CFS
10/29/2110:41:31 I Carlisle, D2 I MEET COMPL IN THE LOBBY
10/29/2110:41:45 I Carlisle, D2 I STATING THAT MAJOR PHARMACIES IN THE CITY ARE SELLING
                                                                                                  Page 1 of 2
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10/29/2110:41:57 I Carlisle, D2 I 101 I DISPATCH
10/29/2110:42:05 I Carlisle, D2 I 101 I ON SCENE
10/29/2110:42:13 I Carlisle, D2 I 101 I Check Status (Time (minutes): 30)
10/29/2110:47:29 I Carlisle, D21 STATING THAT MAJOR PHARMACIES IN THE CITY ARE SELLING ABORTION
INDUCING DRUGS THAT ARE ILLEGAL TO SELL IN THE CITY
10/29/2110:47:35 I Carlisle, D21 WANTS TO SPEAK WITH OFFICER
10/29/2111:12:28 I Carlisle, D2 I 101 I Check Status (Time (minutes): 30)
10/29/2111:18:46 I Carlisle, D2 I 101 I COMPLETE
11/01/2111:58:24 I Mitchell, Jeffrey I Michael Norman came to the police department and reported as follows; He was
meeting a friend for breakfast in Lebanon and had some ''time to kill". He is familiar with the recently passed City of
Lebanon legislation regarding banning abortions and with this free time went to the local Walgreens to inquire if that
establishment made available any medications used for abortions which would be banned by the city ordinance, He
discovered and had printed information from an internet search showing Walgreens has available two drugs;
Misoprostol and Korlym. Norman believes both of these drugs are used for ending pregnancies and as such should
require Walgreens to not sell the drugs in the city. I asked Norman if the drugs could be used for any other medical
purpose (besides ending pregnancies) to which he replied that he did not know. Norman provided three documents
regarding the two identified drugs.




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